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                                   ORDERED.


     Dated: April 24, 2018




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION
                                www.flmb.uscourts.gov

In re:                                            CASE NO.: 3:18-bk-01164-JAF

EIHAB H. TAWFIK, M.D., P.A.,                      CHAPTER 11

              Debtor.
                                        /

         INTERIM ORDER DENYING DEBTOR’S MOTION FOR AUTHORITY
                       TO PAY OFFICER AFFILIATE

         THIS CASE came on for emergency preliminary hearing on April 16, 2018 (the

“Hearing”), upon the motion (“Motion”) filed on April 12, 2018 (Doc No. 11) of EIHAB H.

TAWFIK, M.D., P.A. (the “Debtor”), pursuant to 11 U.S.C. §§ 105(a), 363(b), 507(a), Federal
               Case 3:18-bk-01164-JAF                Doc 33       Filed 04/24/18         Page 2 of 2



Rule of Bankruptcy Procedure 4001(b)(1), and Local Rule 2081-1(f)(6), requesting authority to

pay the salary of Eihab H. Tawfik, who is both an officer and affiliate of the Debtor.

         Upon consideration of the Motion, and being otherwise fully informed on the premises, it

is

         ORDERED:

         1.       The Motion is DENIED, without prejudice and extent provided herein.

         2.       Debtor is not authorized to pay officer affiliate compensation as sought in the

Motion until further order by this Court.

         3.       A final evidentiary hearing on Motion will be held on May 24, 2018 at 1:30

p.m., before the Honorable Jerry A. Funk, United States Bankruptcy Judge, at the United

States Bankruptcy Court, 300 North Hogan Street, 4th Floor, Courtroom 4D, Jacksonville,

FL 32202.




Attorney Justin M. Luna is directed to serve a copy of this order on interested parties and file a proof of service
within three (3) days of entry of the order.




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